Case: 1:15-cv-10109 Document #: 223 Filed: 08/22/18 Page 1 of 1 PageID #:1644

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Nirav Thakkar
                                          Plaintiff,
v.                                                         Case No.: 1:15−cv−10109
                                                           Honorable John J. Tharp Jr.
Ocwen Loan Servicing, LLC, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 22, 2018:


        MINUTE entry before the Honorable John J. Tharp, Jr: Status and motion hearing
held. Cross defendant Baxol orally withdraws its motion to compel [219]. Trial is set for
5/7/19 at 9:00 a.m. A status hearing is set on 2/19/19 at 9:00 a.m., at which time the Court
will set a schedule for the submission of a preliminary pretrial order and a date for the
pretrial conference. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
